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               MINUTES OF THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA

SAPAN                           v. MILESTONE SYSTEMS              No. 13-1965-L(WVG)

HON. WILLIAM V. GALLO                CT. DEPUTY J. YAHL          RPTR.



    The Settlement Disposition Conference set for December 10, 2013
    at 7:30 AM is vacated. Motion for Dismissal received.




DATED:    November 15, 2013




                                                     Hon. William V. Gallo
                                                     U.S. Magistrate Judge
